          Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 1 of 18



1    David H. Krieger, Esq.
2
     Nevada Bar No. 9086
     HAINES & KRIEGER, LLC
3    8985 S. Eastern Ave., Suite 350
4
     Henderson, NV 89123
     Phone: (702) 880-5554
5    FAX: (702) 385-5518
6
     Email: dkrieger@hainesandkrieger.com

7    Attorney for Plaintiff
8
     OSCAR S. CABRERA

9                         UNITED STATES DISTRICT COURT
10
                               DISTRICT OF NEVADA

11                                             :
     OSCAR S. CABRERA,                         : Civil Action No.: ______
12
                                               :
13                       Plaintiff,            :
           v.                                  :
14
                                               :
15   JPMORGAN CHASE BANK, NA                   : COMPLAINT
                                               :
16
                         Defendant.            :
17                                             :
18         For this Complaint, Plaintiff OSCAR S. CABRERA, by undersigned
19
     counsel, states as follows:
20

21
                                      JURISDICTION
22
           1.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this action
23

24   arises under the Dodd-Frank Wall Street Reform and Consumer Protection Act
25
     (DFA), the Truth in Lending Act (TILA), 15 U.S.C. § 1601, et seq., and the Real
26
     Estate Settlement Procedures Act (RESPA), 12 U.S.C. § 2601, et seq.
27

28
          Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 2 of 18



1          2.     This action is specifically filed to enforce regulations promulgated by
2
     the Consumer Finance Protection Bureau (CFPB) that became effective on January
3

4
     10, 2014, specifically, 12 C.F.R. § 1024.35, et seq., of Regulation X.

5          3.     Plaintiff alleges as follows upon personal knowledge as to Plaintiff
6
     and Plaintiff’s own acts and experiences, and, as to all other matters, upon
7

8
     information and belief, including investigation conducted by Plaintiff’s attorneys.

9          4.     Supplemental jurisdiction exists (as applicable) pursuant to 28 U.S.C.
10
     § 1367 and this Court has original jurisdiction over Plaintiff’s RESPA/TILA
11
     claims pursuant to 28 U.S.C. § 1331.
12

13         5.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &
14
     (c), because Plaintiff is a resident of Clark County, Nevada and because Defendant
15
     is subject to personal jurisdiction in Clark County, Nevada; conducts business in
16

17   Clark County, Nevada; the events giving rise to this action occurred in Clark
18
     County, Nevada; and Defendant is registered with the Nevada Secretary of State.
19
                                          PARTIES
20
           6.     Plaintiff OSCAR S. CABRERA (“Plaintiff”), is an adult individual
21

22   residing in Las Vegas, Nevada.

23         7.     Defendant JPMORGAN CHASE BANK, NA (“Defendant” or
24
     “Chase”), was doing business in the State of Nevada at all times herein.
25

26

27

28
            Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 3 of 18



1                  ALLEGATIONS APPLICABLE TO ALL COUNTS
2
             8.    On or about June 29, 2010, Plaintiff filed for Chapter 13 Bankruptcy
3

4
     in the United States Bankruptcy Court for the District of Nevada pursuant to 11

5    U.S.C. § 1301 et seq. Plaintiff’s case was assigned Case Number 10-26368-mkn
6
     (the “Chapter 13” or “Bankruptcy”).
7

8
             9.    On October 29, 2012, Plaintiff’s Chapter 13 Plan was confirmed (the

9    “Confirmed Chapter 13 Plan” or “Confirmation Order”). See Bankruptcy ECF No.
10
     118.
11
             10.   Plaintiff made all payments required under the terms of the Confirmed
12

13   Chapter 13 plan and after completing all payments under the Confirmation Order
14
     received a discharge on December 5, 2015 (the “Discharge”). See Bankruptcy
15
     ECF No. 144.
16

17           11.   At the time the Bankruptcy was filed, Plaintiff was the owner of real
18
     property located at and commonly known as 669 Bighorn Creek Street, Henderson,
19
     NV 89002 (the “Property”) which disclosed in the Bankruptcy schedules. See
20

21   Bankruptcy ECF No. 1.
22
             12.   Plaintiff, at all times relevant, has maintained and currently maintains
23
     the Property as Plaintiff’s primary, principal residence.
24

25

26

27

28
          Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 4 of 18



1           13.    Defendant is the servicer of a note (the “Note”) and a deed of trust
2
     (the “DOT”) on the Property that allegedly secures the Note and DOT (collectively
3

4
     referred to hereinafter as the “Loan”).

5           14.    Defendant has been the servicer of the Loan since at least November
6
     19, 2010.
7

8
            15.    At all times herein, Plaintiff’s chief concern was to ensure that after

9    repaying debts in Chapter 13 for several years and remaining current on the Loan –
10
     to the extent Defendant furnished information to national credit bureaus about the
11
     Loan – that Defendant’s credit data reporting about the Loan was accurately
12

13   reflected in Plaintiff’s credit file to ensure a true “fresh start”.
14
            16.    In January 2013, the CFPB issued a number of final rules concerning
15
     mortgage markets in the United States, pursuant to the DFA, Public Law No. 111-
16

17   203, 124 Stat. 1376 (2010).
18
            17.    Specifically, on January 17, 2013, the CFPB issued the RESPA
19
     (Regulation X) and TILA (Regulation Z) Mortgage Servicing Final Rules, 78 F.R.
20

21   10901 (February 14, 2013) and 78 F.R. 10695 (Regulation X) (February 14, 2013),
22
     which became effective on January 10, 2014.
23
            18.    The Loan in the instant matter is a "federally related mortgage loan"
24

25   as said term is defined by 12 C.F.R. § 1024.2(b).
26

27

28
          Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 5 of 18



1          19.    Defendant is subject to the aforesaid Regulations and does not qualify
2
     for the exception for "small servicers”, as such term is defined in 12 C.F.R. §
3

4
     1026.41(e)(4), nor does Defendant qualify for the exemption for a “qualified

5    lender”, as such term is defined in 12 C.F.R. § 617.700.
6
           20.    Plaintiff is asserting claims for relief against Defendant for breaches
7

8
     of specific rules under Regulation X and Regulation Z, as set forth, infra.

9          21.    Mortgage “Servicing” means (among other things) using consumer
10
     reports and furnishing information to consumer reporting agencies. See FTC v.
11
     Green Tree Servicing, LLC, Case No. 0:15-cv-02064-SRN-JSM, Doc. No. 5 at p. 7
12

13   (D. MN. April 23, 2015).
14
           22.    Plaintiff has a private right of action under RESPA pursuant to 12
15
     U.S.C. § 2605(f) for the claimed breaches and such action provides for remedies
16

17   including actual damages, costs, statutory damages, and attorneys’ fees.
18
                       SPECIFIC FACTS GIVING RISE TO THIS ACTION
19
           23.    On or about October 4, 2018, Plaintiff sent correspondence to
20

21   Defendant captioned or otherwise titled “Request for Information Pursuant to 12
22
     C.F.R. § 1024.36 and 15 U.S.C. § 1641(f)(2); Request for Payoff Statement
23
     Pursuant to 12 C.F.R. § 1026.36(c)(3)” (the “RFI”) via certified mail, wherein
24

25   (among other items) Plaintiff requested a summary date Defendant furnished about
26

27

28
          Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 6 of 18



1    the Loan to any and all Credit Reporting Agencies, including but not limited to,
2
     Experian, Equifax, Transunion, and CBC Innovis (“the CRAs”).
3

4
           24.    In part, Plaintiff’s RFI requested a month by month e-OSCAR report

5    relating to Defendant’s servicing of the Loan from the date the Bankruptcy was
6
     filed to present (the “Loan Reporting Credit Data Request” or “LRCDR”).
7

8
           25.    Defendant received the RFI October 8, 2018.

9          26.    As of the date of this complaint, Defendant failed to provide a proper,
10
     substantive response to the LRCDR as requested in the RFI or provide a proper
11
     objection to their obligation to provide such information.
12

13         27.    On or about December 20, 2018, as a direct result of Defendant’s
14
     failure to provide the information requested in response to the LRCDR, Plaintiff
15
     sent additional correspondence to Defendant captioned or otherwise titled “Notice
16

17   of Error pursuant to 12 C.F.R. § 1024.35(b)(11); and Second Request for
18
     Information pursuant to 12 C.F.R. § 1024.36” (“NOE #1”) via certified mail again
19
     requesting Defendant provide a response to the LRCDR.
20

21         28.    In NOE #1 Plaintiff explained the importance of the LRCDR stating
22
     (among other things):
23

24

25

26

27

28
          Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 7 of 18



1

2

3

4

5

6

7

8

9

10         29.   Defendant received NOE #1 December 24, 2018.
11
           30.   As of the date of this complaint, Defendant again failed to respond to
12
     the LRCDR as requested in NOE #1.
13

14         31.   Without the information requested by and through the LRCDR,
15
     Plaintiff remains at a total informational disadvantage and is unable to conduct a
16
     complete review as to the accuracy and completeness of Plaintiff’s credit “file” as
17

18   that term is defined pursuant to 15 U.S.C. § 1681a(g).
19
           32.   Defendant reported credit data via “e-Oscar” to the CRAs in the
20
     ordinary course of its business of servicing the Loan for the time periods
21

22   responsive to the LRCDR.

23         33.   Defendant is in the best position to know with certainty what data it
24
     furnished to CRAs regarding the Loan.
25

26

27

28
          Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 8 of 18



1          34.     Defendant therefore was at all times herein the most reliable source of
2
     data furnished to the CRAs and under a statutory obligation to provide Plaintiff
3

4
     with a complete response to the LRCDR, since the LRCDR “relat[ed] to the

5    servicing of” Plaintiff’s Loan. See 12 C.F.R. § 1024.35(b)(11).
6
           35.     Defendant retains and can reasonably and readily access information
7

8
     furnished on the Loan to CRAs, which would be responsive to the LRCDR.

9          36.     Defendant could have (if it chose) provided Plaintiff with responsive
10
     data to the LRCDR.
11
           37.     Upon information and belief, the CRAs utilize their own internal
12

13   policies and procedures regarding data processing, which may result in data
14
     furnished by servicers (like Defendant) to be “suppressed”. “Suppressed” data
15
     would not be visible to consumers (like Plaintiff) requesting a complete credit file
16

17   pursuant to 15 U.S.C. § 1681g(a) from the CRAs.
18
           38.     Plaintiff would be unable to request the CRAs update Plaintiff’s credit
19
     files as needed without knowing what data the CRAs may (or may not have)
20

21   suppressed.
22
           39.     A complete response to the LRCDR would accordingly extract
23
     Plaintiff from the current informational disadvantage and put Plaintiff in a position
24

25   to conduct a complete review of Plaintiff’s credit files to ensure the benefit of the
26

27

28
          Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 9 of 18



1    “fresh start” and Defendant’s positive credit data reporting are reflected in
2
     Plaintiff’s credit files maintained with the CRAs.
3

4
           40.    Accordingly, without the benefit of a complete response to the

5    LRCDR, consumers like Plaintiff are simply unable to determine whether their
6
     credit file is “accurate” and “complete” as those terms are meant pursuant to 15
7

8
     U.S.C. § 1681i(a)(5)(A); and/or whether the CRAs followed “reasonable

9    procedures to assure maximum possible accuracy” of Defendant’s furnished data
10
     regarding the Loan as required pursuant to 15 U.S.C. § 1681e(b).
11
           41.    Through the LRCDR, Defendant’s responsive data would permit
12

13   Plaintiff to do a “side by side” comparison of 1) Plaintiff’s credit file and 2) the
14
     LRCDR responsive data.        This would allow Plaintiff to ensure that the data
15
     furnished about the Loan by Defendant is in sync with Plaintiff's consumer files
16

17   (upon a request to the CRAs).
18
           42.    Stated differently, without a response to the LRCDR, Plaintiff simply
19
     is not is a position to know whether Plaintiff’s consumer file is reflective of all the
20

21   positive data being furnished by Defendant or if erroneous adverse credit
22
     information is being reported, to allow Plaintiff to inform the CRAs of such errors
23
     and maintain a complete and accurate credit file.
24

25

26

27

28
         Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 10 of 18



1          43.    Defendant’s failure to provide the LRCDR in response to the RFI and
2
     NOE#1 resulted in numerous servicing errors of the Loan by Defendant engaging
3

4
     in the following acts:

5          • Failing to supply requested information in a timely manner that would
6
             enable Plaintiff to ensure Defendant’s data furnishing on the Loan was
             consistent with the timely Loan payments;
7

8
           • Failing to properly respond to or otherwise correct errors in the servicing
             of the Loan of which Plaintiff has put Defendant on notice; and
9
           • Improperly concealing information from Plaintiff relating to the servicing
10
             of the Loan, which Defendant furnished to national credit reporting
11           agencies that are the subject of such noticed errors.
12
           44.    Defendant’s improper actions have caused Plaintiff to incur a number
13
     of unwarranted costs and fees in an effort to obtain transparency about the routine
14

15   servicing of the Loan vis-à-vis Defendant’s credit reporting on the Loan.
16
           45.    Plaintiff at all times relevant, has merely wanted to pay (and has paid)
17
     ongoing monthly mortgage payments in fulfillment of the Loan obligations and to
18

19   continue to rehabilitate Plaintiff’s credit following Bankruptcy and reap the full
20
     benefits of the “fresh start” to which Plaintiff is entitled following Bankruptcy.
21
           46.    All attempts and requests for the LRCDR have fallen on deaf ears and
22

23   any response Defendant has supplied has been dismissive, vague, or otherwise
24
     unhelpful and non-responsive in dereliction of its statutory duties discussed herein.
25
           47.    Defendant’s improper actions have caused Plaintiff continued costs
26

27   and damages. Indeed, Plaintiff remains unable to conduct a complete credit file

28
         Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 11 of 18



1    review and incurred significant costs in time, mailing and travel expenditures to
2
     resolve Defendant’s errors.
3

4
           48.    Defendant’s wrongful and willful actions have caused Plaintiff to

5    suffer emotional distress driven by the fear Plaintiff will never be in a position to
6
     obtain a complete and transparent credit file, which has resulted in anxiety,
7

8
     depression, embarrassment, fear, frustration, anger, loss of sleep, loss of appetite,

9    chest pains, headaches, feelings of helplessness and intimidation, , rage and other
10
     emotional distress as well as out of pocket expenses to, among other things, paying
11
     for mailing costs, stamps, paper, ink, gas, and lost time to prepare, mail, and
12

13   review NOE #1.
14
         COUNTS 1 THROUGH 2: VIOLATIONS OF 12 C.F.R. § 1024.36(d)
15     (Failure to respond in a timely manner to a request for information issued
                            pursuant to 12 C.F.R. § 1024.36)
16

17         49.    Plaintiff restates and incorporates herein all of the statements and
18
     allegations contained in the preceding paragraphs in their entirety, as if fully
19
     rewritten.
20

21         50.    12 C.F.R. § 1024.36(a) provides, in relevant part, that a request for
22
     information may consist of “any written request for information from a borrower
23
     that includes the name of the borrower, information that enables the servicer to
24

25   identify the borrower's mortgage loan account, and states the information the
26   borrower is requesting with respect to the borrower's mortgage loan.”
27

28
         Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 12 of 18



1          51.   Comment 1 of the Official Interpretations of the CFPB to 12 C.F.R. §
2
     1024.36(a) provides that “[a]n information request is submitted by a borrower if
3

4
     the information request is submitted by an agent of the borrower.”

5          52.   12 C.F.R. § 1024.36(d)(1) provides, in relevant part, that:
6
                 [A] servicer must respond to an information request by
7                either:
8
                 (i) Providing the borrower with the requested
9                     information and contact information, including a
                      telephone number, for further assistance in writing; or
10
                 (ii) Conducting a reasonable search for the requested
11                    information and providing the borrower with a written
                      notification that states that the servicer has determined
12
                      that the requested information is not available to the
13                    servicer, provides the basis for the servicer's
                      determination, and provides contact information,
14
                      including a telephone number, for further assistance
15
           53.   Furthermore, 12 C.F.R. § 1024.36(d)(2)(i) provides that:
16

17               A servicer must comply with the requirements of
                 paragraph (d)(1) of this section:
18

19               (A) Not later than 10 days (excluding legal public
                    holidays, Saturdays, and Sundays) after the servicer
20
                    receives an information request for the identity of, and
21                  address or other relevant contact information for, the
                    owner or assignee of a mortgage loan; and
22
                 (B) For all other requests for information, not later
23                  than 30 days (excluding legal public holidays,
                    Saturdays, and Sundays) after the servicer receives the
24
                    information request.
25

26

27

28
         Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 13 of 18



1          54.    Plaintiff sent an RFI to Defendant on or about October 4, 2018 and
2
     December 20, 2018. Plaintiff sent each RFI to Defendant at its self-designated
3

4
     address for the receipt of such correspondence pursuant to 12 C.F.R. § 1024.36(b).

5          55.    The RFIs (and each of them), in part, constituted requests for
6
     information pursuant to 12 C.F.R. § 1024.36(a) as each RFI requested information
7

8
     “with respect to the borrower's mortgage loan.”

9          56.    Defendant received each of the RFIs within a week of the above
10
     mailing dates.
11
           57.    Pursuant to 12 C.F.R. § 1024.36(d)(2)(i)(B), Defendant was required
12

13   to provide written correspondence to Plaintiff in response to Plaintiff’s RFIs “not
14
     later than 30 days (excluding legal public holidays, Saturdays, and Sundays) after
15
     the servicer receives the information request”, as contained in the RFI,         in
16

17   compliance with the requirements of 12 C.F.R. § 1024.36(d)(1) (the “RFI
18
     Response Deadlines”).
19
           58.    Plaintiff never received any written correspondence from Defendant
20

21   containing a proper, substantive response to the LRCDR or otherwise containing a
22
     proper, valid objection as to why Defendant was not required to so respond to the
23
     LRCDR by the RFI Response Deadlines and Defendant therefore failed to comply
24

25   with the requirements of 12 C.F.R. § 1024.36(d)(1) by the RFI Response
26   Deadlines.
27

28
         Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 14 of 18



1          59.     Defendant’s    actions,   in   failing   to   provide   proper   written
2
     correspondence to Plaintiff in response to Plaintiff’s RFIs for the LRCDR before
3

4
     the RFI Response Deadlines, constituted a willful violation of 12 C.F.R. §

5    1024.36(d).
6
           60.     Defendant’s actions are believed to be a pattern and practice of
7

8
     behavior in conscious disregard for Plaintiff’s rights.

9          61.     As a result of Defendant’s actions, Defendant is liable to Plaintiff for
10
     actual damages, statutory damages, costs, and attorneys’ fees.
11
                  COUNT 3: VIOLATIONS OF 12 C.F.R. § 1024.35(e)
12
     (Failure to properly respond to a notice of error issued pursuant to 12 C.F.R.
13                                     § 1024.35)
14
           62.     Plaintiff restates and incorporates herein all of the statements and
15
     allegations contained in the preceding paragraphs in their entirety, as if fully
16

17   rewritten.
18
           63.     12 C.F.R. § 1024.35(a) provides, in relevant part, that “[a] servicer
19
     shall comply with the requirements of this section for any written notice from the
20

21   borrower that asserts an error and that includes the name of the borrower,
22
     information that enables the servicer to identify the borrower's mortgage loan
23
     account, and the error the borrower believes has occurred.”
24

25         64.     12 C.F.R. § 1024.35(e)(1)(i) provides that a servicer must respond to a
26   notice of error by either:
27

28
         Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 15 of 18



1                (A) Correcting   the error or errors identified by the
2
                     borrower and providing the borrower with a written
                     notification of the correction, the effective date of the
3                    correction, and contact information, including a
4
                     telephone number, for further assistance; or
                 (B) Conducting a reasonable investigation and providing
5                    the borrower with a written notification that includes a
6
                     statement that the servicer has determined that no
                     error occurred, a statement of the reason or reasons
7                    for this determination, a statement of the borrower's
8
                     right to request documents relied upon by the servicer
                     in reaching its determination, information regarding
9                    how the borrower can request such documents, and
                     contact information, including a telephone number,
10
                     for further assistance.
11
           65.   Further, 12 C.F.R. § 1024.35(e)(3)(i) provides, in relevant part:
12

13               A servicer must comply with the requirements of
                 paragraph (e)(1) of this section:
14
                 (A) Not later than seven days (excluding legal public
15                  holidays, Saturdays, and Sundays) after the servicer
                    receives the notice of error for errors asserted under
16
                    paragraph (b)(6) of this section.
17               (B) Prior to the date of a foreclosure sale or within 30
                    days (excluding legal public holidays, Saturdays, and
18
                    Sundays) after the servicer receives the notice of
19                  error, whichever is earlier, for errors asserted under
                    paragraphs (b)(9) and (10) of this section.
20
                 (C) For all other asserted errors, not later than 30 days
21                  (excluding legal public holidays, Saturdays, and
                    Sundays) after the servicer receives the applicable
22
                    notice of error.
23
           66.   Plaintiff sent NOE #1 to Defendant on or about December 20, 2018 to
24

25   the address self-designated by Defendant for the receipt of such correspondence
26   pursuant to 12 C.F.R. § 1024.35(c).
27

28
         Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 16 of 18



1          67.   NOE #1 constituted a notice of error as such term is defined in 12
2
     C.F.R. § 1024.35(a).
3

4
           68.   Defendant received NOE #1 December 24, 20181.

5          69.   As of the date of this complaint, Defendant failed to provide
6
     responsive information to the LRCDR even though Defendant was a notice of its
7

8
     failure to provide same through NOE #1.

9          70.   The failure to provide a response to the LRCDR addressed in NOE #1
10
     resulted in the errors addressed in NOE #1 remaining uncorrected. Further,
11
     Defendant did not communicate the effective date it made any corrections (which
12

13   would have been remedied in part by providing a response to the LRCDR) thereby
14
     failing to comply with 12 C.F.R. § 1024.35(e)(1)(i)(A).
15
           71.   Further, at no point in time in did Defendant provide a response to
16

17   NOE #1 explaining that no error(s) occurred with an explanation as to the reason(s)
18
     for such determination(s) after performing a reasonable investigation into such
19
     pursuant to 12 C.F.R. § 1024.35(e)(1)(i)(B).
20

21         72.   Defendant’s actions, in failing to provide a proper response to the
22
     LRCDR as expressed in NOE #1, and previously RFI #1, failed to meet the
23
     express, explicit requirements of either 12 C.F.R. § 1024.35(e)(1)(i)(A) or 12
24

25   C.F.R. § 1024.35(e)(1)(i)(B).
26

27

28
         Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 17 of 18



1          73.      Defendant’s actions, in failing to provide a response to the NOE that
2
     meets the explicit and express requirements of 12 C.F.R. § 1024.35(e), constitutes
3

4
     willful violations of 12 C.F.R. § 1024.35(e).

5          74.      Defendant’s actions are believed to be a pattern and practice of
6
     behavior in conscious disregard for Plaintiff’s rights.
7

8
           75.      As a result of Defendant’s actions, Defendant is liable to Plaintiff for

9    actual damages, statutory damages, costs, and attorneys’ fees.
10
                                    PRAYER FOR RELIEF
11

12         WHEREFORE, Plaintiff prays that judgment be entered against Defendant
13
     awarding Plaintiff:
14
           1. Actual damages pursuant to 12 U.S.C. § 2605(f)(1);
15

16         2. Statutory damages pursuant to 12 U.S.C. § 2605(f)(2) for each and every
17
                 violation discussed above;
18
           3. Costs of litigation and reasonable attorney’s fees pursuant to 12 U.S.C. §
19

20               2605(f)(3); and

21   …
22

23

24

25   …
26

27

28
        Case 2:19-cv-00374-MMD-CWH Document 1 Filed 03/04/19 Page 18 of 18



1         4. Any other legal or equitable relief that the court deems appropriate.
2
                 TRIAL BY JURY DEMANDED ON ALL COUNTS
3

4
     Dated: March 4, 2019
5
                                           Respectfully submitted,
6

7
                                           By /s/ David H. Krieger, Esq.
8                                          David H. Krieger, Esq.
9                                          Nevada Bar No. 9086
                                           HAINES & KRIEGER, LLC
10                                         8985 S. Eastern Avenue, Suite 350
11                                         Henderson, Nevada 89123
                                           Phone: (702) 880-5554
12                                         FAX: (702) 385-5518
13                                         Email: dkrieger@hainesandkrieger.com

14                                         Attorney for Plaintiff
15
                                           OSCAR S. CABRERA

16

17

18

19

20

21

22

23

24

25

26

27

28
